Case 2:90-cv-00520-KJM-SCR                Document 8347-4   Filed 08/02/24   Page 1 of 5


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11                                    UNITED STATES DISTRICT COURT
12                                    EASTERN DISTRICT OF CALIFORNIA
13
14 RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520-KJM-DB
15                      Plaintiffs,                   DECLARATION OF MICHAEL W.
                                                      BIEN IN RESPONSE TO ORDER TO
16                 v.                                 SHOW CAUSE RE: RECEIVERSHIP
17 GAVIN NEWSOM, et al.,
                                                      Judge: Hon. Kimberly J. Mueller
18                      Defendants.
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     [4537363.4]                                                Case No. 2:90-CV-00520-KJM-DB
      DECLARATION OF MICHAEL W. BIEN IN RESPONSE TO ORDER TO SHOW CAUSE RE: RECEIVERSHIP
Case 2:90-cv-00520-KJM-SCR                 Document 8347-4        Filed 08/02/24     Page 2 of 5


 1                 I, Michael W. Bien, declare:
 2                 1.    I am a member of the Bar of this Court and lead counsel for the plaintiff
 3 class in the above-entitled action. I make this Declaration in response to the Court’s
 4 July 12, 2024 Order, ECF No. 8330, ordering the parties to show cause why a receiver
 5 should not be appointed “for completion of all tasks necessary for the implementation of
 6 the remedy in this action.” I have personal knowledge of the matters testified to herein and
 7 if called as a witness I could competently so testify.
 8                 2.    I have been personally involved in the remedial and enforcement process in
 9 this litigation from the inception. I share the Court’s frustration with Defendants’ slow
10 progress in remediating the ongoing Constitutional violations and implementing the
11 remedial plans. I also agree that the continued delays in achieving compliance have
12 caused and continue to cause serious and substantial harm to the plaintiff class, including
13 unnecessary and avoidable pain, suffering and death. On one hand, we have come so far—
14 we have agreed on almost all policies, procedures and staffing necessary to remediate the
15 Constitutional violations. On the other hand, progress has stalled—we are spending too
16 much time in fierce litigation, which has itself become an obstacle to working together
17 towards completing implementation of the Program Guide so that a durable and
18 sustainable remedy can be achieved. The current structure of the case is not working, for
19 many reasons. I agree with the Court that at this point, there is “no option” other than
20 appointment of a receiver who can provide “professional, neutral leadership, external to
21 the named defendants and their institutions.” ECF No. 8330 at 10, 14. I strongly believe
22 that the structure of a receivership—with the Court’s guidance and oversight—will finally
23 turn the tide in this case and bring long-needed relief to our more than 30,000 clients in
24 CDCR.
25                 3.    While we disagree with Defendants and believe the Court should appoint a
26 Receiver regardless of who is selected, I strongly recommend J. Clark Kelso, the current
27 Plata Receiver, as the best choice.
28                 4.    As lead counsel in this case and in the related disability rights class action
     [4537363.4]
                                              1                 Case No. 2:90-CV-00520-KJM-DB
      DECLARATION OF MICHAEL W. BIEN IN RESPONSE TO ORDER TO SHOW CAUSE RE: RECEIVERSHIP
Case 2:90-cv-00520-KJM-SCR               Document 8347-4       Filed 08/02/24   Page 3 of 5


 1 before Northern District of California Judge Claudia Wilken, Armstrong v. Newsom, N.D.
 2 Cal. Case No. 4:94-cv-02307-CW, I have closely followed developments in the related
 3 Plata litigation and regularly review pleadings, orders, and progress reports. Plata and
 4 Coleman were, of course, addressed together by the three-judge Court addressing
 5 population. Many remedial issues in Coleman over the years were coordinated with Plata
 6 or delegated to the Plata Receiver, such as Pharmacy and Medication Distribution,
 7 Medical Records, certain health care construction, and the hiring and supervision of
 8 nursing staff. During the Covid pandemic, the interaction between the three Courts and
 9 their remedial processes was critical and effective in saving lives and assuring that the
10 needs of class members in all three cases were addressed. I regularly attended Plata Case
11 Management Conferences and meetings chaired by the Plata Receiver or his staff and was
12 permitted to raise issues on behalf of the Coleman and Armstrong classes.
13                 5.   All members of the Armstrong and Coleman classes also regularly receive
14 medical services through the Plata Receivership. Our firm has had online access to class
15 members medical records for a number of years, allowing us to closely monitor our
16 clients’ medical and mental health care. The advent of the electronic medical records
17 system—implemented under the Plata Receivership—has been a tremendous value to our
18 clients and us, ensuring better continuity and consistency in their care.
19                 6.   I have regularly personally observed and interacted with the Mr. Kelso, in
20 various meetings and hearings, since his appointment and have formed an opinion about
21 his skills, abilities and judgment.
22                 7.   Based on my experience in this litigation, as well as my personal knowledge
23 of and experience with the Plata Receivership, I fully support this Court’s decision to
24 appoint a receiver to complete all tasks necessary to implement the remedy in this case.
25 We need a different remedial process where decisions can be made promptly with a focus
26 on implementing the remedy rather than on “winning” or “losing” each battle. Defendants
27 have also been unable to prioritize the Coleman remedy in the state governmental political
28 process, as evidenced by the ongoing inability to address the mental health staffing crisis.
     [4537363.4]
                                              2                 Case No. 2:90-CV-00520-KJM-DB
      DECLARATION OF MICHAEL W. BIEN IN RESPONSE TO ORDER TO SHOW CAUSE RE: RECEIVERSHIP
Case 2:90-cv-00520-KJM-SCR                Document 8347-4       Filed 08/02/24   Page 4 of 5


 1                 8.    In my opinion, the Court should appoint Mr. Kelso (assuming that the Plata
 2 Court and Mr. Kelso agree) as the Receiver in Coleman. Mr. Kelso has demonstrated the
 3 skills, knowledge and abilities to develop and implement a complex remedy. He has the
 4 confidence and positive working relationships not only with the parties and their attorneys,
 5 but also with other parts of state government that are necessary to complete the Coleman
 6 remedial process. He is an effective leader, but also respects the authority and direction of
 7 the Plata court, and I have no doubt he would do the same for this Court.
 8                 9.    The advantages of asking Mr. Kelso to take on this role are many: First, the
 9 remedy in Coleman has been long delayed and a different person serving as the Receiver
10 would be required to spend a significant amount of extra time “getting up to speed” on
11 CDCR, the mental health services delivery system, the players, and the history of the case.
12 Mr. Kelso, aided by the Special Master and his experts, will be able to hit the ground
13 running. As a result, Mr. Kelso has the ability to finally achieve implementation of several
14 key areas that remain to be remediated in this case, including filling mental health provider
15 vacancies, finalizing remediation of the data system and Defendants’ self-monitoring tool
16 (CQIT), and ensuring that Lindsay Hayes’s remaining suicide prevention measures are
17 completed. Second, appointing Mr. Kelso would further the important goal of establishing
18 a functional, durable, and sustainable unified health care system for CDCR. Mr. Kelso is
19 already familiar with the coordination process between the three courts and can present
20 issues that raise potential conflicts or concerns between the cases to the judges to be
21 resolved.
22                 10.   Third, and perhaps most importantly, through my numerous interactions with
23 Defendants over many years, I have come to understand and believe that Defendants prefer
24 a receivership model, that Defendants believe that the Coleman remedial process would
25 benefit from the appointment of Mr. Kelso as the receiver, and that they have a positive
26 working relationship with Mr. Kelso. Defendants’ trust of Mr. Kelso and his abilities and
27 judgment based on his existing relationships, including the highest officials in the
28 Department, will drastically change the dynamic of this case. My opinion is that if the
     [4537363.4]
                                              3                 Case No. 2:90-CV-00520-KJM-DB
      DECLARATION OF MICHAEL W. BIEN IN RESPONSE TO ORDER TO SHOW CAUSE RE: RECEIVERSHIP
Case 2:90-cv-00520-KJM-SCR                 Document 8347-4      Filed 08/02/24    Page 5 of 5


 1 Court appoints Mr. Kelso as Coleman Receiver, Defendants’ trust in him will allow the
 2 parties and the Court finally to shift their focus to fixing the problems and ending this case
 3 rather than engaging in constant litigation.
 4                 11.   We would of course cooperate with and respect the authority of any receiver
 5 appointed by the Court. But I doubt that any other individual would be able to achieve
 6 remediation as swiftly and on the timetable we and the Court agree is necessary. Our
 7 clients have suffered with an unconstitutional mental health care system for too long, and
 8 we are ready for that to change.
 9                 12.   Nonetheless, I strongly support the appointment of a receiver by the
10 Coleman Court whether or not the receiver appointed is Mr. Kelso. It is time to try a
11 different remedial process and for the reasons stated above, a receivership is, in my
12 opinion, the right tool to utilize at this time to most rapidly implement the Coleman
13 remedy and achieve the long-delayed goal of a mental health delivery system that meets
14 constitutional standards.
15                 I declare under penalty of perjury under the laws of the United States of America
16 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
17 California this 1st day of August, 2024.
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19                                                       /s/ Michael W. Bien
                                                         Michael W. Bien
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     [4537363.4]
                                              4                 Case No. 2:90-CV-00520-KJM-DB
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